     Case 3:09-cr-00332 Document 42 Filed 11/23/09 Page 1 of 4 PageID# 145




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                          wrw 9 .
                                     RICHMOND DIVISION                               INUV L 6


UNITED STATES OF AMERICA,


                       Plaintiff


v.                                                       CASE NO. 3:09CR332

RASHELL ONIA SPENCER,


                       Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that she consented to not only having the Magistrate Judge conduct

the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate

Judge make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.


       The court accepted the Defendant's waiver of her right to proceed by indictment after

specific inquiry was made of the Defendant as to her understanding of the right to require

prosecution by indictment. The Defendant pled guilty to a Single Count Criminal Information in

open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and

statements made by the Defendant under oath, on the record, and based upon the written plea
    Case 3:09-cr-00332 Document 42 Filed 11/23/09 Page 2 of 4 PageID# 146




agreement and statement of facts presented, the court makes the following findings:

       1.     That the Defendant is competent to enter a plea of guilty;

       2.     That the Defendant understands the nature of the charge against her to which her

              plea is offered;


       3.     That the Defendant understands what the maximum possible penalties are upon

              conviction of the offense charged, including any mandatory minimum periods of

              confinement, the effect of any required term of supervised release, the loss of

              various civil rights (if applicable, including the right to vote, the right to hold

              public office, the right to own and possess a firearm), the possibility of adverse

              immigration consequences (if applicable), the required imposition of a special

              assessment, forfeiture of real and/or personal property (if applicable), and

              restitution (if applicable);


       4.     That the sentencing court has jurisdiction and authority to impose any sentence

              within the statutory maximums provided, but that the court will determine the

              defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the

              court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a

              sentence above or below the advisory sentencing range, subject only to review by

              higher courts for reasonableness;


      5.      That the Defendant understands her right to persist in a plea of not guilty and

              require that the matter proceed to trial with all the rights and privileges attending a

              trial, including, but not limited to: the right to effective assistance of counsel; the

              right to use the power and processes of the court to compel the production of

              relevant evidence on the Defendant's behalf; the right to confront and cross-
     Case 3:09-cr-00332 Document 42 Filed 11/23/09 Page 3 of 4 PageID# 147




               examine adverse witnesses; the right to present relevant evidence; the right to

               remain silent; and the right to trial by jury;

        6.     That the Defendant understands that she is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

        7.     That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

        8.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

               entered and is not the result of force or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and

       9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in

               fact to support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to a Single Count Criminal

Information and entered judgment of guilt on the subject charge. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's plea

of guilt and resulting judgment of guilt, be adopted.

       Let the Clerk forward a copy of this report and recommendation to the Honorable Richard

L. Williams and to counsel of record.


       It is so Ordered.



                                                           /s/
                                              Dennis W. Dohnal
                                              United States Magistrate Judge
     Case 3:09-cr-00332 Document 42 Filed 11/23/09 Page 4 of 4 PageID# 148




Dated: NOV 2 3



                                           NOTICE


       The Defendant is advised that she may file specific written objection to this report

and recommendation with the court within ten (10) days of this date. If objection is noted,

the party objecting must promptly arrange for the transcription of the relevant record and

file it forthwith with the court for its use in any review. Failure to object in accordance

with this notice, including the requirement for preparation of a transcription of the

relevant portions of the record, will constitute a waiver of any right to de novo review of the

matter and may result in adoption of the recommendation, including the finding of guilt as

entered by the magistrate judge.
